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   6    HONEY BAKED HAM INC.

   7
                            UNITED STATES DISTRICT COURT
   8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9                             SOUTHERN DIVISION

  10
        HONEY BAKED HAM INC., a                   CASE NO.: 8:19-cv-01528-JVS (DFMx)
  11    California corporation,
  12                       Plaintiff,             EXHIBIT A TO REPORT OF PARTIES’
                                                  PLANNING MEETING
  13          v.
  14    Honey Baked Ham Company LLC, a
        Delaware limited liability company,
  15    HBH Licensing, LLC, a Georgia
        limited liability company,
  16
                           Defendants.
  17                                              Complaint filed: August 7, 2019
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        EXHIBIT A TO REPORT OF PARTIES’ PLANNING MEETING
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                                                                   Plaintiff's   Defendant's
                                                            Weeks Request        Request
                                                                                               Court
    Matter                                       Time       before (Insert       (Insert
                                                                                               Order
                                                             trial specific      specific
                                                                   date)         date)
   Trial date (jury) (court)                    8:30 a.m.                        10/26/21
   Estimated length:                days       (Tuesdays)
    [Court trial:] File Findings of Fact and                                     10/18/21
    Conclusions of Law and Summaries of                      −1
    Direct Testimony
    Final Pretrial Conference; Hearing on                                        10/11/21
    Motions in Limine; File Agreed Upon
    Set of Jury Instructions and Verdict
    Forms and Joint Statement re               11:00 a.m.    −2
    Disputed Instructions and Verdict          (Mondays)
    Forms; File Proposed Voir Dire Qs
    and Agreed−to Statement of Case
   Lodge Pretrial Conf. Order;                                                   10/04/21
    File Memo of Contentions of Fact and
    Law; Exhibit List; Witness List;                         −3
    Status Report re Settlement
    Last day for hand−serving Motions in                                         09/13/21
    Limine                                                   −6
                                                1:30 p.m.                        08/30/21
    Last day for hearing motions               (Mondays)     −7
    Last day for hand−serving motions and                                        08/02/21
    filing (other than Motions in Limine).                   −11
                                                                    04/30/21     04/19/21
    Non−expert Discovery cut−off                             −15

    ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE L.R.

    16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR


                                                                     07/12/21     07/05/21
       Expert discovery cut−off

      Rebuttal Expert Witness Disclosure                                          06/07/21
      Opening Expert Witness Disclosure                              05/17/21     05/10/21
      [See F.R.Civ.P. 26(a)(2)]
      Last day to conduct Settlement                                 05/03/21     01/08/21
      Conference
      Last day to amend pleadings or add                                          09/28/20
      parties
